      FOSS
  DECLARATION
    EXHIBIT 6




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 Joel A. Pisano 
 Direct Dial: (973) 757‐1035 
 jpisano@walsh.law 
                                                        February 27, 2019
 VIA ECF
 Honorable Michael A. Shipp, U.S.D.J.
 United States District Court for the District of New Jersey
 Clarkson S. Fisher Federal Building & U.S. Courthouse
 402 East State Street
 Trenton, New Jersey 08608

           Re:       NewMarket Pharmaceuticals, LLC v. VetPharm, Inc. et al.
                     Civil Action No. 3:17-cv-01852-MAS-TJB

 Dear Judge Shipp:

        We write in response to the Court’s February 19, 2019 Text Order and to inform the Court
 of several significant developments.

           First, it appears that an arbitration is untenable as neither party is able to pay arbitration
 fees. While the AAA granted NewMarket’s request for a waiver of the administrative portion of
 the fees associated with the new arbitration, (see Exhibit A), VetPharm has informed NewMarket
 that it too will seek a waiver of all fees. As a practical matter, according to the AAA case manager,
 even if the AAA would accept such a case, it is unlikely that any prospective arbitrator would be
 willing to proceed if both parties are unable or unwilling to pay any arbitrator fees.

        In order to resolve this issue, NewMarket has proposed to VetPharm that the parties
 consent to resolve their dispute in front of Judge Bongiovanni as previously discussed at the
 mediation. VetPharm’s only objection appears to be that it is unsure as to whether Judge
 Bongiovanni has the requisite knowledge in pharmaceutical product development, clinical trial
 management, clinical research organizations, FDA regulations, and electronic data capture.
 NewMarket believes this objection is meritless given the Court’s experience, indeed expertise, in
 such matters.

         Finally, VetPharm recently revealed that due to its financial struggles, the integrity of the
 data may become impaired and (b) VetPharm has been attempting to sell or otherwise monetize
 the data without informing NewMarket. Both revelations are directly contrary to prior
 representations VetPharm has made to this Court, (see March 22, 2017 Tr. at 10:21-23 (“We’re
 not going to monetize it.”) and 10:1-7 (“VetPharm isn’t going to be destroying or disposing of any
 data”), and are the very reasons NewMarket twice sought temporary relief.

        In light of the above, we respectfully request that the Court keep this case active on its
 docket and that a teleconference be scheduled before Judge Bongiovanni to discuss these
 matters further. We thank the Court for its continued attention to this matter, and are available
 should Your Honor or Your Honor’s staff require anything further or have any questions.


  
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 Honorable Michael A. Shipp, U.S.D.J.
 February 27, 2019
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                                                 Respectfully submitted,

                                                 s/Joel A. Pisano

                                                 Joel A. Pisano

 Attachment


 cc:   Honorable Tonianne J. Bongiovanni, U.S.M.J. (via ECF)
       All Counsel of Record (via ECF and E-mail)




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                            EXHIBIT A




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        Case 3:17-cv-01852-MAS-TJB Document 107 Filed 02/27/19 Page 4 of 5 PageID: 1506


Pollaro, Robert

From:                                             AAA Fee Waivers <AAAFeeWaivers@adr.org>
Sent:                                             Wednesday, February 13, 2019 12:16 PM
To:                                               Pollaro, Robert; AAA Fee Waivers
Subject:                                          RE: Fee Waiver - Case No. 01-19-0000-4735


Mr. Pollaro,

After reviewing the submission for the waiver of the your client’s AAA fees on case # 011900004735, the AAA
has determined to grant the request for a hardship waiver of the AAA fees that your client is responsible for in
this matter. Please keep in mind this only pertains to the filing fee and does not affect any obligation to pay
arbitrator compensation.


This decision will be communicated with our Intake department in order for the case filing to proceed.

Thank you

 
 


                AAA	Fee	Waivers
                American	Arbitration	Association	
                	
                E:	AAAFeeWaivers@adr.org	
                	
                adr.org		|		icdr.org		|		aaamediation.org

The	information	in	this	transmittal	(including	attachments,	if	any)	is	privileged	and/or	confidential	and	is	intended	only	for	the	recipient(s)	listed	above.	Any	review,	
use,	disclosure,	distribution	or	copying	of	this	transmittal	is	prohibited	except	by	or	on	behalf	of	the	intended	recipient.	If	you	have	received	this	transmittal	in	error,	
please	notify	me	immediately	by	reply	email	and	destroy	all	copies	of	the	transmittal.	Thank	you.


From: Pollaro, Robert <Robert.Pollaro@cwt.com>  
Sent: Tuesday, February 12, 2019 1:41 PM 
To: AAA Fee Waivers <AAAFeeWaivers@adr.org> 
Subject: Fee Waiver ‐ Case No. 01‐19‐0000‐4735 

    ***	External	E‐Mail	–	Use	Caution	***	


AAA,

NewMarket Pharmaceuticals, LLC (“NewMarket”) respectfully submits the attached Affidavit in Support of
Administrative Fees Hardship Wavier in connection with Case No. 01-19-0000-4735 filed by NewMarket
against VetPharm, Inc. (“VetPharm”)(collectively the “Parties”). In addition to the information provided in the
Affidavit NewMarket provides the following background information that may assist the AAA in deciding
NewMarket’s request for a fee waiver.


                                                                                       1
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This case (Case No. 01-19-0000-4735) is being filed because the District Court for the District of New Jersey
issued an order (Case No. 3:17-cv-01852) requiring the Parties submit to arbitration by today, February 12,
2019. See, Order requiring arbitration (attached hereto). NewMarket was forced to file the present arbitration
because VetPharm refused to do so. NewMarket is requesting a waiver of all fees because it is insolvent and
has filed an action in the State Court of New Jersey to dissolve. See, MER-C-1-19 (attached hereto).

The AAA is encouraged to contact the undersigned counsel in the event it requires additional information or
clarification.

Regards,

Robert Pollaro
Counsel for NewMarket Pharmaceuticals, LLC

 
Robert Pollaro
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